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Audio Recording of Conversation, May 18, 2018

Participants:

NERAYOFF:                 Steven Nerayoff
PETERS:                   Michael Peters
PULVER:                   Jeff Pulver
JOHN DOE:                 JOHN DOE
JANE DOE:                 JANE DOE

Abbreviations:

[UI]                      Unintelligible
[IA]                      Inaudible
[VO]                      Voices overlap
[ph]                      Phonetic rendering
[BG]                      Background




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 1   NERAYOFF:               … Coming back and saying, way back when, when we agreed to
 2                           the air drop, that the air drop came, discussion came after the blog
 3                           post. I didn’t even know about this blog post by the way. So
 4                           regardless of whether or not I came in before or after, I don’t
 5                           know. And that you and I threatened to destroy them –
 6
 7   PULVER:                 When did we threaten to destroy them?
 8
 9   NERAYOFF:               I, we did not…
10
11   PULVER:                 I was about to say, I never…
12
13   NERAYOFF:               … I did not recall threatening to destroy… I recall last time
14                           Michael did-
15
16   PETERS:                 Yes I did.
17
18   NERAYOFF:               Michael did say, Michael did say that last time, yes.
19
20   PETERS:                 Absolutely.
21
22   NERAYOFF:               And last, and last time I don’t disagree about that-
23
24   PETERS:                 Absolutely.
25
26   NERAYOFF:               -but back then, Jeff and I did not.
27
28   PULVER:                 I don’t have that in my vocabulary.
29
30   NERAYOFF:               Is, is, is, is         [ph] that, the one I’m supposed to be meeting?
31
32   MAN 1:                  [UI]
33
34   MAN 2:                           is the one.
35
36   PETERS:                 No, we did, we did [VO] absolutely. No no no no no, no no no no
37                           no no, I don’t know what happened before I was involved, but I’ve
38                           [UI] tell you
39
40   PULVER:                 This was, this was, this was that they, that this was um, um, before
41                           Mike.
42
43   PETERS:                 Yes.
44
45   NERAYOFF:               So, do you, I- I’m not sure why it’s relevant because we made an
46                           agreement, but they’re [VO] saying that they made an agreement


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47                           under [VO] under duress, that you and I threatened to ruin them.
48
49   PULVER:                 I- I did not threaten to ruin anybody in that phone call.
50
51   NERAYOFF:               And [clears throat] I remember specifically, not specifically, but
52                           we know, they, they, they excluded the nine hundred million, and
53                           they kept the one point three five [VO], so it was a negotiation
54                           there.
55
56   PULVER:                 Right. [VO]
57
58   NERAYOFF:               So if we- [VO]
59
60   JANE DOE:               But I, I feel like you guys are-
61
62   NERAYOFF:               [VO] The part that’s perplexing-
63
64   JANE DOE:               - [VO] ganging up on us and pressuring us, [VO] we’re in a hotel
65                           room, sitting here.
66
67   MAN 1:                  I know, and that, it’s not, okay. Can I, can I just say something,
68                           may I?
69
70   NERAYOFF:               If, if I was going-
71
72   MAN 1:                  [VO] May I say something, Steve?
73
74   NERAYOFF:               -to [UI] why would I say, give up the nine hundred million?
75
76   MAN 1:                  Steven, Steven let me say something, okay? Right now, all of this
77                           is irrelevant because what’s relevant is what the terms are going to
78                           be on a go-forward basis. If we have a version, we meaning
79                           Alchemist, have a version of what we believe the terms are, and
80                           their version of what they believe the terms are, are not the same-
81
82   NERAYOFF:               No no no, [VO] they’re not saying that the terms are not the same-
83
84   MAN 1:                  Well yes…
85
86   NERAYOFF:               [VO] They’re just saying that they, they don’t like, they’re not,
87                           they’re not, they, they, they didn’t want to agree to it.
88
89   MAN 1:                  That means, logistically, that they’re not going to go forward. So
90                           the question is, is whether or not we can, if this is where you are
91                           and this is where they are, is if we can come to a meeting with
92                           some place that, as you suggested could be beneficial to every


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 93                           party. We don’t have to talk about anymore the dur- it’s irrelevant.
 94                           They’re denying the contract exists, they’re taking the position
 95                           there’s no contract.
 96
 97   NERAYOFF:               Well no, I have- I have it right here.
 98
 99   MAN 1:                  But they’re taking the position, that there’s no- I’m not saying
100                           they’re right, I’m just saying that’s the position they’re taking right
101                           now. So the first thing that would seem to me to expedite the
102                           situation is, is there a way to actually meet in the middle or to meet
103                           someplace [VO]
104
105   NERAYOFF:               [UI]
106
107   MAN 1:                  What are you going to do, you gon- you gonna sue her?
108
109   NERAYOFF:               That’s what we did a month ago.
110
111   MAN 1:                  You gonna sue her to go forward with the contract?
112
113   NERAYOFF:               No, I’m not, [VO] I’m saying-
114
115   MAN 1:                  I’m just saying that’s not, what, what we need to do is we need to
116                           figure out whether or not we can come closer on the terms…
117
118   NERAYOFF:               [UI] [VO] But the discussion a month ago…
119
120   JANE DOE:               As equals and not one being [UI]
121
122   NERAYOFF:               … we’ll do the merger, we do the merger and it, it’s not going to
123                           matter because it’s gonna be [VO] Alchemist’s responsibility.
124
125   JANE DOE:               It does matter, we don’t, we want to do it with integrity and make
126                           sure we’re on the same page.
127
128   NERAYOFF:               If you want to do it with integrity then you stick to what you
129                           agreed to. [VO]
130
131   MAN 1:                  Let’s stop going back [VO] to that for a minute. It’s not helpful
132                           [VO]…
133
134   JANE DOE:               …very uncomfortable…
135
136   MAN 1:                  … It’s just not helpful to go back to that.
137
138   JANE DOE:               I feel like I’m getting ganged up on right now.


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139
140   NERAYOFF:               Okay.
141
142   MAN 1:                  I mean there are like five of us and two of you [UI]
143
144   JANE DOE:               [VO] [UI] extremely aggressive, I don’t like it.
145
146   MAN 2:                  Just so that you understand, everyone here with the exception of
147                           Steven is not ganging up on you, it’s a one man gang up. But we’re
148                           all-
149
150   JANE DOE:               Very loud, [VO] emotional gang of guys.
151
152   MAN 2:                  You do understand, all of us are trying to do an intervention with
153                           him-
154
155   JANE DOE:               [VO] And that’s what we want. We want to come to a middle
156                           where we are-
157
158   MAN 2:                  -like you. I’m saying that-
159
160   JANE DOE:               Adults in the room [VO] documenting, on the same page, data-
161                           driven…
162
163   MAN 1:                  [VO] We should stop talking about…
164
165   JANE DOE:               …please.
166
167   MAN 1:                  … any words like duress or contract or agreement. We should just
168                           pretend [VO], we’re starting right now, and see if there’s a place
169                           where we can meet ‘cuz otherwise all this is just [VO] a pissing
170                           contest. [VO] It’s irrelevant to the-
171
172   PULVER:                 [VO] not in a room but in a restaurant or some place so it feels
173                           more comfortable that’s fine-
174
175   MAN 1:                  That’s obviously fine ‘cuz that’s just logistically [VO]
176
177   MAN 1:                  [VO]
178
179   MAN 1:                  Logistically I can see that-
180
181   MAN 1:                  thirty six minutes or we’re getting thrown out of this room.
182
183   NERAYOFF:               I mean, look, I mean…
184


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185   MAN 1:                  I can see how you logistically [VO] were uncomfortable-
186
187   NERAYOFF:               I, my vantage point is this, [VO] my vantage point is [VO] this
188                           merger is going to be the best that this [VO] this merger is going to
189                           be the best thing that ever happened to Company 1. I think we’re
                              [VO]
190                           gonna do the micro-buffs, micro-payments blockchain. I can do the
191                           micro-payments blockchain without Company 1. I don’t need
                              Company 1 to
192                           do that, and I can capture tens of billions of dollars of value by
193                           myself [VO]
194
195   JANE DOE:               So you’re threatening us again right now?
196
197   NERAYOFF:               No, I’m saying-
198
199   JANE DOE:               [VO] Okay, so then please stop talking.
200
201   NERAYOFF:               No, I’m not threatening…
202
203   JANE DOE:               Please stop talking.
204
205   NERAYOFF:               … I’m saying, I’m doing this to benefit all of us.
206
207   JANE DOE:               Please stop talking. Can we get our facts together?
208
209   NERAYOFF:               I have them right here in an e-mail, text message back and forth
210                           between me and you-
211
212   JANE DOE:               No-
213
214   NERAYOFF:               I don’t know what else to say.
215
216   MAN 1:                  [VO] Alright, but we’re, we’re going to stop going back to that
217                           ‘cuz otherwise we’re just gonna end up no place.
218
219   NERAYOFF:               No, I, I [VO] this is a, this is a, this is a [VO] substantive matter-
220
221   MAN 1:                  Please Steve, if, if…
222
223   NERAYOFF:               It’s a substantive issue. There’s been three agreements. One
224                           agreement, we hired JANE DOE to do work for us.
225
226   JANE DOE:               No there’s no agreement.
227
228   NERAYOFF:               [UI] You had an agreement with            to do work.
229
230   JANE DOE:               No, you- [VO]
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231
232   NERAYOFF:               [VO] And you were supposed to do that work, and we counted and
233                           you did the work, and we’re supposed to pay five hundred dollars
234                           an hour to do the work.
235
236   JANE DOE:               No, I don’t even know where five hundred came from. We, we
237                           never had an agreement.
238
239   NERAYOFF:               [UI] When you say we never had an agreement, do you say that it
240                           wasn’t in writing or you didn’t agree to it with ?
241
242   JANE DOE:               I said send me the agreement, and I’ll start work. That was it.
243
244   NERAYOFF:               Did, you came to, I flew you to Florida to do work.
245
246   JANE DOE:               You did not fly me to Florida. I was on my way to the Cayman
247                           Islands, I stopped by to help out.
248
249   NERAYOFF:               Okay.
250
251   JANE DOE:               I drew stuff on the [UI], I said     , this is how you do it, go for
252                           it. I can draw some pretty boxes for you, which I showed you, I
253                           drew some pretty boxes for you, this is how you do it. I was being
254                           helpful.
255
256   JOHN DOE:               I think we want a win-win situation as well too. I mean, Steve, but
257                           we, we do need Ether, that, that’s something that we just can’t live
258                           without at the moment.
259
260   NERAYOFF:               Well you can sell my Company 1. The, the, that I left as collateral.
261
262   JOHN DOE:               We cannot [laughs]
263
264   NERAYOFF:               Why?
265
266   JOHN DOE:               We cannot. That’s-
267
268   NERAYOFF:               Did, did you know that we had this conversation? Are you aware
269                           of this? Are, Are you aware of everything that happened?
270
271   JOHN DOE:               So, so are you saying that the Ether will not be given back to us?
272
273   NERAYOFF:               [UI]
274
275   JOHN DOE:               Because-
276


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277   NERAYOFF:               So you’re saying the agreement as, that we had is not valid? I’m
278                           just, I wanna know, I’m just, I wanna know, I’m just [UI] I want to
279                           know at what point is an agreement valid with you two? Because
280                           that, the one point three five wasn’t a valid, now the three fifty
281                           isn’t valid. At what point do you guys say, oh okay, this one we’re
282                           gonna honor? Is it, [UI] I’m just curious when does your word,
283                           when is your word good? And this is in writing.
284
285   JANE DOE:               [VO] When one is not being threatened another person is when-
286
287   NERAYOFF:               You were not threatened the first time.
288
289   JANE DOE:               You [VO] the first time…
290
291   NERAYOFF:               [VO] then why did I not get the nine hundred million?
292
293   JANE DOE:               … the agreement that we signed in July of [VO] 2017, we, we
294                           signed-
295
296   NERAYOFF:               I’m just asking you, why, why, if somebody’s threatening you,
297                           why would they give up nine hundred million eligible that are
298                           locked up for two years anyway? That was an easy one. And
299                           JOHN DOE said absolutely under no conditions. So if we’re
                              threatening
300                           you, why would I give that up? I did not threaten you that time…
301
302   MAN 1:                  Alright.
303
304   NERAYOFF:               There was no [VO] threats.
305
306   MAN 1:                  Steve, let’s just [VO] let’s just [UI] take a break, we gotta take a
307                           backseat break here for a sec.
308
309   MAN 1:                  We have to.
310
311   PETERS:                 Can we, can we do this? Can we do this? JANE DOE, JANE DOE
                              and JOHN DOE
312                           you guys get out of here. I’m gonna talk with Steven for a little bit.
313
314   JANE DOE:               Please.
315
316   PETERS:                 Uh-
317
318   MAN 1:                  We have to.
319
320   PETERS:                 We’ll meet you guys, [VO] we’ll meet you guys downstairs in the
321                           lobby in twenty minutes.
322
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323   MAN 2:                  What part of the lobby is-
324
325                                 [END OF RECORDING]




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